             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                            Plaintiff,
       v.
                                              Case No. 21-CR-03067-01-S-BCW
 DAVID PANBEHCHI,

                            Defendant.

                         ORDER TO UNSEAL INDICTMENT

      Upon motion of the government, and for good cause shown, the Indictment returned

in this case on May 19, 2021, is hereby unsealed.

      IT IS SO ORDERED.



Date: June 3, 2021                              /s/ John T. Maughmer
                                                JOHN T. MAUGHMER
                                                United States Magistrate Judge




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